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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


    REVIVAL CHIROPRACTIC LLC A/A/O
    JAZMINE PADIN AND NATALIE                       CASE NO.: 6:19-cv-00445-PGB-LRH
    RIVERA,

         PLAINTIFF,

    v.

    ALLSTATE INSURANCE COMPANY
    AND ALLSTATE PROPERTY AND
    CASUALTY INSURANCE COMPANY,

         DEFENDANT.

    __________________________________/

         PLAINTIFF’S NOTICE OF FILING SUPPLEMENTAL AUTHORITY IN
         SUPPORT OF ITS AMENDED MOTION FOR SUMMARY JUDGMENT

          Plaintiff, REVIVAL CHIROPRACTIC LLC A/A/O JAZMINE PADIN AND

   NATALIE RIVERA, by and through the undersigned counsel, hereby gives notice of

   filing of recent, supplemental case law in support of Plaintiff’s Amended Motion for

   Summary Judgment (D.E. 29), as follows:

          1. Geico Indemnity Co., et al. v. Accident & Injury Clinic, Inc. a/a/o Frank

             Irizarry, et al., 5D19-1409, (Fla. 5th DCA 2019), reh’g denied Feb. 26, 2020

             (holding that “if the billed amount is less 80% of the fee schedule (the required

             amount an insurer must pay), the insurer may opt to pay the lower billed

             amount in full”). emph. added.
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 28, 2020, I electronically filed a true and

   correct copy of the foregoing with the Clerk of Court using the CM/ECF system, which will

   send Notice of Electronic Filing to all ECF participants.

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